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                                   No. 6:22-cv-00003

                                   Greg Abbott et al.,
                                       Plaintiffs,
                                           v.
                                 Joseph R. Biden et al.,
                                      Defendants.


                                       ORDER

              The court previously stayed this case until 30 days after the Fifth
          Circuit issued its mandate in its Case No. 22-40399, the appeal from
          this court’s ruling on the motion for a preliminary injunction. This
          court further directed each party to file a status report before that
          stay lifts after the Fifth Circuit’s mandate.
               The Fifth Circuit issued its mandate on August 25, 2023, making
          this court’s stay expire on September 25, 2023. The court leaves that
          deadline intact but expands on its prior order by specifying topics for
          the parties’ upcoming status report in light of the Fifth Circuit’s
          judgment and opinion. Each side’s status report must include its po-
          sition on the following questions so that the court can intelligently
          set a schedule and begin preparations for any trial or further hearing
          in this matter:
             1. With this court’s ruling on plaintiffs’ motion for a prelimi-
                nary injunction now vacated, do any reasons counsel for or
                against this court advancing the trial on the merits and con-
                solidating it with the decision on preliminary relief? See Fed.
                R. Civ. P. 65(a)(2). In light of the recission of the mandate in
                question, do plaintiffs still desire to press their motion for
                preliminary relief, as opposed to permanent relief?
             2. For a bench trial on the merits, must an administrative record
                be prepared? Assuming that one is prepared, by what dead-
                line must plaintiffs provide a designation of agency actions as
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                the basis for preparation of that record, and by what deadline
                must defendants file that record?
             3. In a bench trial on the merits, should the court allow testi-
                mony from historian or linguistics experts and make findings
                of fact (not necessarily conclusions of law) on the original
                public understanding of the relevant constitutional terms
                and on liquidated meaning, if not for Fifth Circuit use given
                the panel precedent here, then for the Supreme Court’s use
                should it grant review? See N.Y. State Rifle & Pistol Ass’n, Inc.
                v. Bruen, 142 S. Ct. 2111, 2130 n.6 (2022) (noting that the his-
                torical inquiry “relies on ‘various evidentiary principles and
                default rules’” and holding: “Courts are thus entitled to de-
                cide a case based on the historical record compiled by the
                parties”) (citing W. Baude & S. Sachs, Originalism and the
                Law of the Past, 37 L. & Hist. Rev. 809, 810–811 (2019)).
             4. Will the bench trial on the merits encompass legal issues
                other than those resolved in the Fifth Circuit’s decision in
                the interlocutory appeal? Specifically address whether the
                following issues will be litigated and provide any overview of
                the party’s position:
                a. Whether the APA claims are justiciable despite the
                   carve-outs cited in Part III.A of the opinion accompany-
                   ing the Fifth Circuit’s judgment, which was not joined by
                   any other judge on the panel and thus is not binding.
                b. Whether the Fifth Circuit’s reasoning means that the
                   constitutionality of 32 U.S.C. § 327(b)(1) is “draw[n] into
                   question” by this suit, Fed. R. Civ. P. 5.1(a), and, if so,
                   whether defendants agree that the time for the Attorney
                   General to intervene as a party under Rule 5.1 has been
                   satisfied or is waived, such that this court may enter a fi-
                   nal judgment.
                c. Any suggestion by plaintiffs that the Texas National
                   Guard or Alaska National Guard is the entirety of that
                   State’s “militia,” within the meaning of the Constitu-
                   tion, as opposed to merely a subset of that State’s militia.


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                d. Any standing or mootness matters not resolved in this
                   court by the binding force of the Fifth Circuit’s decision.
                e. Whether even the non-federalized National Guard of a
                   State is “employed in the service of the United States”
                   within the meaning of the Second Militia Clause by vir-
                   tue of its members’ voluntary dual-enrollment in a re-
                   serve component of the United States Armed Forces and
                   concomitant receipt of federal pay and benefits.
                f. Whether the court must study the effect of the Supreme
                   Court’s holding in Perpich v. Department of Defense that
                   National Guard members can be called into federal ser-
                   vice for training outside of the three scenarios listed in
                   the First Militia Clause, potentially indicating that Con-
                   gress’s power over the National Guard arises from
                   sources other than its power over the remainder of a
                   State’s militia because of congressional funding and the
                   dual-enlistment condition of National Guard enrollment.
                   496 U.S. 334, 350 (1990) (“The congressional power to
                   call forth the militia may in appropriate cases supplement
                   its broader power to raise armies and provide for the
                   common defense and general welfare, but it does not
                   limit those powers.”).
                                   So ordered by the court on August 30, 2023.



                                              J. C A MP BEL L B A RK ER
                                              United States District Judge




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